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 5

 6 Attorneys for Plaintiff

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 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                                   CASE NO. 1:13-cr-00392-LJO-SKO
12                                          Plaintiff,           STIPULATION TO VACATE JURY
                                                                 TRIAL DATE AND RESET STATUS
13   v.                                                          CONFERENCE; EXCLUDABLE TIME
                                                                 PERIODS UNDER SPEEDY TRIAL
14   BALTAZAR CASTANEDA GARCIA, et al.                           ACT; FINDINGS AND ORDER OF
                                                                 DENIAL
15                                          Defendant,
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18             Plaintiff United States of America, by and through its counsel of record BENJAMIN B.

19 WAGNER, United States Attorney and LAUREL J. MONTOYA, Assistant U.S. Attorney, and
20 defendants by and through their undersigned counsel of record hereby stipulate as follows:

21             1.        By previous order, this matter was set for jury trial June 16, 2015 at 8:30 a.m. before

22                       the Honorable Lawrence J. O’Neill.

23             2.        By previous order, this matter is set for status conference June 1, 2015 at 1:00 p.m.

24                       before the Honorable Sheila K. Oberto.

25             3.        By this stipulation, the parties agree to vacate the jury trial date and continue the

26                       status hearing to June 15, 2015 at 1:00 p.m. before Judge Oberto, or before Judge

27                       Lawrence J. O’Neill at a time/courtroom convenient to the court. Time has

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29        Garcia, et al Stipulation and Proposed Order

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 1                  previously been excluded to and through June 16, 2015 the date set for the jury trial

 2                  in this matter. Defense counsel does not oppose this request.

 3        4.        Recent intervening events since the matter was set for trial necessitate this request.

 4                  At the last status conference, the parties requested Judge Oberto to vacate the trial

 5                  date however she advised the parties to contact the trial judge regarding the request.

 6        5.        The parties agree and stipulate, and request that the Court find the following:

 7                            a.        Additional time is needed for formulating offers and the approval

 8                  process as well as investigation related to the formulation and consideration of any

 9                  offer to settle the matter;

10                            b.        Additional time is needed for investigation and preparation of the

11                  matter for trial;

12                            c.        The parties have agreed to vacate the June 16, 2015 jury trial date;

13                            d.        The parties have agreed to continue the date for the status conference

14                  to June 15, 2015;

15                            e.        For the purpose of computing time under the Speedy Trial Act, 18

16                  U.S.C. § 3161, et seq., within which trial must commence, the time period of

17                  September 29, 2014 to June 16, 2015, inclusive, has previously been excluded by the

18                  court on September 29, 2015.

19        6.        Nothing in this stipulation and order shall preclude a finding that other provisions of

20        the Speedy Trial Act dictate that additional time periods are excludable from the period

21        within which a trial must commence.

22        IT IS SO STIPULATED.

23 DATED: May 18, 2015                                                /s/ Laurel J. Montoya
                                                                      LAUREL J. MONTOYA
24                                                                    Assistant United States Attorney
25 DATED: May 18, 2015                                                /s/ David Torres
                                                                      DAVID TORRES
26                                                                    Attorney for Defendant Garcia
27 DATED: May 18, 2015                                                /s/ Nick Reyes
                                                                      NICK REYES
28                                                                    Attorney for Defendant Peraza Ruiz
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29   Garcia, et al Stipulation and Proposed Order

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 1 DATED: May 18, 2015                                             /s/ E. Marshall Hodgkins
                                                                   E. MARSHALL HODGKINS
 2                                                                 Attorney for Defendant Vega
 3 DATED: May 18, 2015                                             /s/ Peter Jones
                                                                   PETER JONES
 4                                                                 Attorney for Defendant Canchola
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 6                                                    ORDER

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     The request to continue the trial date is DENIED. There is no good cause stated why this case is not
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        ready for trial as set. Simply stating that things have not been done is not good cause. Counsel
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     participated in selecting the current jury trial date. Assuming that there is some UNSTATED reason
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      for such a continuance, Counsel did not provide a new, agreed upon date for a new trial date within
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     90 days of the current trial date. Without BOTH the good cause AND the new agreed upon trial date
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        within 90 days of the current trial date will result in a further and final denial of the motion to
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                                                      continue.
14 IT IS SO ORDERED.

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        Dated:       May 18, 2015                             /s/ Lawrence J. O’Neill
16                                                       UNITED STATES DISTRICT JUDGE

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29     Garcia, et al Stipulation and Proposed Order

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